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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division


 TREVOR FITZGIBBON                            )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )                 Case No. 3:19-cv-477-REP
                                              )
                                              )
 JESSELYN A. RADACK                           )
                                              )
        Defendant.                            )
                                              )


             PLAINTIFF’S RESPONSE AND OPPOSITION
             TO DEFENDANT’S SUPPLEMENTAL BRIEF

        Plaintiff, Trevor Fitzgibbon (“Plaintiff”), by counsel, pursuant to the Court’s

 Order entered [ECF No. 82], respectfully submits this Response and Opposition to the

 supplemental brief [ECF No. 86] filed by defendant, Jesselyn Radack (“Defendant”) in

 support of her motions to dismiss under Rules 12(b)(1) and 12(b)(6).

        1.      On May 18, 2020, Plaintiff, with leave of Court, filed a third amended

 complaint. [ECF No. 87]. In his third amended complaint, Plaintiff elected to pursue

 three (3) remedies: Breach of Contract (Count I); Defamation (Count II); and Common

 Law Conspiracy (Count III).

        2.      In her supplemental brief, p. 4, Radack broadly claims that the liquidated

 damage provision in ¶ 4(e) of the a settlement agreement “is applicable” and “expressly

 limits the damages which Fitzgibbon can recover in the instant action.” Radack offers no

 further explanation or argument or case law in support of her position.




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        3.      Radack’s motion to dismiss for lack for subject matter jurisdiction1 should

 be denied for the following reasons:

                a.     Plaintiff’s amount-in-controversy allegations are made in good

 faith. Gilmore v. Jones, 370 F.Supp.3d 630, 649 (W.D. Va. 2019) (“When a plaintiff

 invokes federal-court jurisdiction, the plaintiff's amount-in-controversy allegation is

 accepted if made in good faith.”) (quoting Dart Cherokee Basin Operating Co., LLC v.

 Owens, 574 U.S. 81, 87 (2014) (citing Mt. Healthy City Bd. of Ed. v. Doyle, 429 U.S.

 274, 276 (1977) (“‘[T]he sum claimed by the plaintiff controls if the claim is apparently

 made in good faith.’”) (further quotation omitted))).

                b.     The liquidated damage provision in ¶ 4(e) is not applicable to tort

 claims. It applies only to material breaches of the contract. The contract clearly and

 unambiguously states as follows:

        “The Parties hereby acknowledge and agree that the amount of damages in the
        event of a material breach of the provisions of this paragraph 4 would be
        difficult or impossible to determine and that the amount [of] $1,000 for each
        tweet, retweet, reply, like, post or comment that violates paragraphs 4(a), 4(b)( or
        4(c) is the best and most accurate estimate of the damages the non-breaching
        Party would suffer in the event of a material breach of this paragraph 4, that
        such estimate is reasonable under the circumstances existing as of the date of this
        Agreement and under the circumstances that the Parties reasonably anticipate
        would exist at the time of such material breach and that the breaching Party
        agrees to pay the non-breaching Party that amount as liquidated damages, and not
        as a penalty, if the non-breaching Party asserts, and a court of competent
        jurisdiction confirms, such a material breach.”

 (Emphasis added). Nowhere in the contract does it say the liquidated damage provision

 is applicable to the independently tortious acts committed by Radack or that Plaintiff is




        1
                Plaintiff’s third amended complaint does not state a claim for fraud in the
 inducement, which moots the argument in the subsection “Resulting Damage” in ECF
 No. 51 at 7-8.


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 prohibited from seeking actual damages, i.e., insult, humiliation, injury to reputation, in

 the event Radack publishes false and defamatory statements.

                c.      In Virginia, a single act or occurrence can, in certain

 circumstances, support causes of action both for breach of contract and for breach of a

 duty arising in tort, thus permitting a plaintiff to recover both for the loss suffered as a

 result of the breach and traditional tort damages, including, where appropriate, punitive

 damages. Foreign Mission Bd. v. Wade, 242 Va. 234, 241, 409 S.E.2d 144 (1991). To

 avoid turning every breach of contract into a tort, however, the Virginia Supreme Court

 has consistently adhered to the rule that, in order to recover in tort, “the duty tortiously or

 negligently breached must be a common law duty, not one existing between the parties

 solely by virtue of the contract.” Id. (citing Spence v. Nrfolk & W.R. Co., 92 Va. 102, 116,

 22 S.E. 815 (1895) (emphasis added). Defamation is a common law tort. In Fuller v.

 Edwards, the Virginia Supreme Court recognized that “[o]ne’s right to an unimpaired

 limb and to an unimpaired reputation are, in each instance, absolute and has been since

 common law governed England.           Indeed, an impaired reputation is at times more

 disastrous than a broken leg.” 180 Va. 191, 198, 22 S.E.2d 26 (1942) (cited in Gazette,

 Inc. v. Harris, 229 Va. 1, 7, 325 S.E.2d 713 (1985) (“In Virginia, as in other states, the

 law of defamation historically has protected a basic interest. The individual’s right to

 personal security includ[ing] his uninterrupted entitlement to enjoyment of his

 reputation.”)). Here, the duty tortiously breached when Radack defamed Plaintiff is a

 common law duty. It is not a duty that exists “solely” by reason of the settlement

 agreement. Virginia law is clear that a plaintiff, such as the Plaintiff in this case, may

 pursue both contract and independent defamation claims arising out of the same




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 transaction or occurrence. See, e.g., Kappa Sigma Fraternity v. Richard G. Miller

 Memorial Foundation, 2008 WL 445005 (E.D. Va. 2008) (counterclaim plaintiff alleged

 both breach of a non-disparagement clause in a settlement agreement and defamation per

 se). Because Plaintiff’s defamation claims are independently actionable, Plaintiff easily

 satisfies the jurisdictional threshold under § 1332.

                d.      Virginia law is equally clear that Plaintiff may pursue a claim of

 punitive damages where, as here, a breach of contract is accompanied by proof of an

 independent, willful tort, such as defamation. A&E Supply Co., Inc. v. Nationwide Mut.

 Ins. Co., 612 F.Supp. 760, 766 (W.D. Va. 1985) (“the court holds that it is proper to

 award punitive damages where there is an award of compensatory damages for breach of

 contract accompanied by proof of an independent, willful tort [defamation] beyond the

 mere breach of a duty imposed by the contract”). To determine whether subject matter

 jurisdiction is proper, the Court must take into account Plaintiff’s demand for punitive

 damages in the amount of $350,000. See, e.g., Powers v. Equitable Production Co., 2010

 WL 547395, at * 3 (W.D. Va. 2010) (“a claim for punitive damages may be used to

 satisfy the jurisdictional amount in controversy if it is possible for the jury to award

 punitive damages under the applicable state law”) (citations omitted). In Powers, the

 Court ruled as follows:

        Here, Powers claims that representatives of Equitable have purposefully conspired
        to testify falsely and falsify public records in an effort to deprive him of his
        ownership interest in certain lands and the coalbed methane located under those
        lands. If such allegations are true, as they must be assumed to be at this stage,
        they would ‘evince a conscious disregard of the rights of others,’ and Powers
        would be entitled to claim punitive damages in some amount. While a jury
        considering the facts may not award Powers $10 million in punitives, it could
        easily award in excess of the jurisdictional amount of more than $75,000.00. That
        being the case, I find that Powers's Complaint alleges facts specific to satisfy the
        amount in controversy required by 28 U.S.C. § 1332.”



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 2010 WL 547395, at * 4.

                e.      Finally, in determining whether Plaintiff’s claims meet the

 jurisdictional threshold ($75,000 excusive of interest and costs), the Court must take into

 account Plaintiff’s request for attorney’s fees. Twin Trees, LLC v. Haring, 2019 WL

 1983064, at * 7 (W.D. Va. 2019) (attorney’s fees are not included in the calculation of

 the amount in controversy under § 1332(a) “unless the fees are provided for by contract

 or a statute mandates or permits their payment”) (citing Francis v. Allstate Ins. Co., 709

 F.3d 362, 368 (4th Cir. 2013) (“Generally, attorney’s fees are not included in the amount-

 in-controversy calculation, but courts have created two exceptions to this rule: ‘(1) if the

 fees are provided for by contract; or (2) if a statute mandates or allows payment of

 attorney's fees.’ 15–102 Moore's Federal Practice, Civil § 102.106(6)(a)”); see Cradle v.

 Monumental Life Ins. Co., 354 F.Supp.2d 632, 635 (E.D. Va. 2005) (“if a state statute

 makes ‘attorney’s fees into substantive rights to which the litigants are entitled’ then

 attorney's fees may be considered in calculating the amount in controversy under 28

 U.S.C. § 1332”). Here, Plaintiff seeks $250,000 in attorney’s fees pursuant to contract.

 Defendant has introduced no evidence to show that Plaintiff’s claim is unreasonable

 under the circumstances. Compare McAfee v. Boczar, 738 F.3d 81, 95 (4th Cir. 2013)

 (where jury awarded damages of $2,943.60, court of appeals directed that an attorney’s

 fee award of $100,000, exclusive of costs, be entered by the district court on remand).

 Radack has contested every fact.          She refuses to produce her direct message

 communications with third parties. She has counterclaimed for breach of contract. She

 has deleted every violative tweet, vastly increasing the cost and expense of this litigation.

 Plaintiff’s attorney’s fees will easily exceed $75,000.



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                                    CONCLUSION

        For the reasons stated above, Defendant’s motion to dismiss pursuant to Rule

 12(b)(1) should be denied.



 DATED:        May 24, 2020



                              TREVOR FITZGIBBON



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                           CERTIFICATE OF SERVICE

       I hereby certify that on May 24, 2020 a copy of the foregoing was filed

 electronically using the Court’s CM/ECF system, which will send notice of electronic

 filing to counsel for the Defendant and all interested parties receiving notices via

 CM/ECF.




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